923 F.2d 848Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re James Edward HARRIS, Petitioner.
    No. 90-8045.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 29, 1991.
    
      On Petition for Writ of Mandamus.  (CA-90-338-CRT)
      James Edward Harris, petitioner pro se.
      PETITION DENIED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Edward Harris brought this mandamus petition seeking an order directing the United States Attorney to present certain facts concerning alleged criminal activity to a grand jury and to allow Harris to testify before this grand jury.  Because Harris has not shown that a special grand jury, called pursuant to 28 U.S.C. Sec. 3331, is currently sitting in the Eastern District of North Carolina, he is not entitled to require the United States Attorney to present his allegations to such a grand jury under 28 U.S.C. Sec. 3332.  Accordingly, mandamus relief is not available to compel the United States Attorney to initiate an investigation.  Therefore, we grant permission to proceed in forma pauperis and deny mandamus relief.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not significantly aid in the decisional process.
    
    
      2
      PETITION DENIED.
    
    